From Bertie.
(282)   STATE OF NORTH CAROLINA, } Bertie County.     } April Term. 1803.
Cherry for defendants cited 2 Hawk., 359, sec. 119, to prove that the caption of an indictment must show that the court had or could exercise jurisdiction over the offense indicted. He said there was no such term of the Superior or County Courts. *Page 199 
of Bertie as April term, known, distinguished or described by any public law; for if so, the court would be bound officially to take notice of it. April term was a judicial term unknown to the laws of North Carolina, so far as it affected the county of Bertie; the session of Bertie County Court was not holden in that month; and as to the Superior Courts of the State, their terms were fixed by the act of 1806, commencing on the first Mondays of March and September, and ending as the circuits progressed, on the sixth Mondays after the forth Mondays of the said month.
The caption of the indictment ought to describe the court before which it is found, that it may appear the court can exercise jurisdiction over the offense charged. It is not stated in the caption to this indictment whether it was found in the County or Superior Court. And although it may be true that the term of the Superior Court happened in April, yet "April term" is not distinguished as a judicial term of that court in any act of Assembly. Judgment arrested.
Overruled: S. v. Brickell, 8 N.C. 354.
(283)